                    CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 1 of 11
                                                                                                             RECEIVED
                                                                                                                     NOV    19    2021

                                                                                                           CLERK, U.S. D
                                          UNtfnO SfefgS DfSfruCT COURT                                          sT. PAUL, MINNESoTA

                                                                        for the
                                                               District of Minnesota
                                                                                              E
                                                                                 Division

     RandiLynn Erickson (RAND| LYNN ERTCKSON)
                                                                          )
                                                                                   Case No.
                                                                                              a)    - 4.2/
                                                                                              q) II(J 6)29
                                                                          )
                                                                                              (n beflled   in by the Clerk's Ofice)
                                                                          )
                                                                             I
                               Plaintiff(s)
(Write thefull name of each plaintiffwho isfiling this complaint.         )
If.the names of all the plaintiffs cannotfit ii the-space abive,
please write "see attached" in the space and attich an                   )
                                                           additional    )
page with thefull list of names)
                                  -Y-                                    )
                                                                         )
                   Craig Randallsawyer
                                                                         )
                      Robert Hamer
             Kim Picazio (aka KtM L.ptCAZtO)                             )
                                                                         )
                                                                         )
(write the4u.na
                    " "f
                         *"?{#ff{i/*no is being sued. rf the             )
names  of all the defendants cannotfit in the spaceiboru, pjl"^"         )
write "see attached" in the space and attach an additionil page
with thefull list of names.)




                                    COMPLAINT AI\D REQUEST FOR INJUNCTION

I.        The Parties to This Complaint
          A-        The Plaintiff(s)

                    Provide the information below for each plaintiffnamed in the
                    needed.
                                                                                 complaint. Attach additional pages                      if
                               Name                                RandiLynn Erickson
                               Street Address                      9285 205th Ave NW
                               City and County                     Elk River, Anoka County
                               State and ZipCode                   Minnesota,55330
                               Telephone Number                    76341-4383
                               E-mail Address                      randi@realestateexperts.com


         B.        The Deferrdant(s)

                   Provide the information below for each defendant named
                                                                            in the complaint, whether the defendant is an
                   individual, a government agency, an organization, or a corporation.
                                                                                       For an individual def
                   include tn" p"l*rr'r;ou o, titl"       ii*r*ri
                                                           Attach additional pages            ifneeded.      "SURN                            N   ED
                                                                                                                               N0V"*"e"902f
                                                                                                                         Ug   DISTBICT COURT ST. PAI'L
CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 2 of 11




Defendant No. I
        Name
                                      Craiq RandallSawyer
        Job or Title Tifknown)

        Street Address                7320 N La Cholla Blvd - Suite 1il-3D2
        City and County
        State and Zip Code

        Telephone Number              520-210-7499
        E-mail Address (if known)


Defendant No. 2
        Name                          Kim L. Picazio
        Job or Title (f known)        Attomey
        Street Address                100 SE 3rd Ave
        City and Count5r              Fort Lauderdale Broward
        State and ZipCode             Florida,33394
       Telephone Number               954-467-5558
       E-mail Address    (if known)



Defendant No. 3
       Name                           Robert Hamer
       Job or Title 1if*nounl         Author / Advisor Veterans For Child Rescue lnc
       Street Address                 7320 N La Cholla Btud - Suite   1il-302
       City and County
       State and Zip Code

       Telephone Number               520-21A-7499
       E-mail Address    (tf known)   bob@bobhamer.net


Defendant No. 4

       Name
       Job or Title 6f nnownl

       Street Address

       City and County
       State and ZrpCode

       Telephone Number

       E-mail Address (tf hown)




                                                                                       Page 2   of   6
        CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 3 of 11




Basis for Jurisdiction

Federal courts are courts of limited juisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity-of citizenship of the
parties- Under 28 U.S.C. $ 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. $ 1332, a case in which a citizenof one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction?         (check ail thnt appty)

     Er"A"rut     question                            n     Oiversity of citizenship


Fill out the paragraphs in this section that apply to this case.

A.      If the Basis for Jurisdiction Is a Federal euestion

        List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
        are at issue in this case.
        18 U.S. Code $ 1951 - Interference with commerce by threats or violence
        18 U.S. Code g 875 - lnterstate communications
         18 U.S. Code g 241 - Conspiracy against rights
         18 USC 1001 - The General Federat Fabe Statements Statute

B.      If the Basis for Jurisdiction Is Diversity of Citizenship

        l.       The Plaintiff(s)

                         If the plaintiffis an individual
                         Theplaintiff,       lnane)                                               , is a citizen of the
                         Stzte of hame)


                b.       If the plaintiffis     a corporation

                         Theplallntiff, lnane)                                                    , is incorporated
                         under the laws of the State of fuame)

                         and has its principal place of business in the State of (name)




                (If more than one plaintif is named in the complaint, attoch an additional poge providing
                                                                                                          the
                same information    for     each additional plaintiff.)

       2.       The Defendant(s)

                a.       If the defendant is an individual
                         The defendant, (name)                                                                    of
                                                                                                 , is a citizen
                         the State of   (name)
                                                                                               Or is a citizen    of
                         (foreign nation)




                                                                                                              Page 3   of   6
                     CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 4 of 11


Pro Se 2 (Rev.   l2llQ Conplaht   atrd Request for   lnjuction



                                  b.         Ifthe defendant is a corporation
                                             Thedefendan\        (nane)                                   , is incorporated under
                                             the laws of the State of hame)                                         . and has its
                                             principal place of business in the State of   fuame)

                                             Or is incorporated under the laws of   6oreign nation)

                                             and has its principal place of business in (name)


                                  (If more than one defendant is named in the complaint, attach an additional page providing the
                                  same information for each additional defendant.)

                      3.          The Amount in Controversy

                                  The amount in confoversy-the amount the plaintiffclaims the defendant owes or the amount at
                                  stake-is more than $75,000, not cotmting interest and costs of court, because (explain):




uI.       Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiffharm or violated the plaintiffs rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

          A.          Where did the events giving rise to your claim(s) occur?
                      The events occuned in Minnesota, North Dakota, Wsconsin, Florida and other states.




          B.          What date and approximate time did the events giving rise to your claim(s) occur?
                      SEE   AfiACHED




                                                                                                                        Page4of 6
       CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 5 of 11




Certification snd Ctosing

Under Federal Rule of Civil Procedure I l, by signing below, I certiff to the best of my knowledge, information,
and belief that this complaint (t) is not being presented for an improperpurpor", ,.r"h u, to harass,
                                                                                                         cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law
                                                                                                    or by a
nonfrivolous argument for extending, modifting, or reversing existing faw; (3) thl factual contentions
                                                                                                           have
evidentiary sqtport or, if specifically so identified, will likely nave wlOentiary support after
                                                                                                 areasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with
                                                                                                      the
requirements of Rule 11.

A.      For Parties Without anAttorney

       I agree to provide the Clerk's office with any changes to my address where case-related papers
                                                                                                        may be
       served. I understand that my failure to keep a current address on file with the Clerk's Office may
                                                                                                          result
       in the dismissal of my case.

       Date of   signing:           11tlszrll
                                    11t1W2A21


       Signature of   Plaintiff
       Printed Name of Plaintiff     Randi Lynn

       For Attorneys

       Date of signing:


       Signature of Attomey

       Printed Name of Attomey
       BarNumber
       Name of Law Firm
       Street Address

       State and   Zip Code
       Telephone Number

      E-mail Address




                                                                                                       Page 6   of   6
                    CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 6 of 11


Pro Se 2 (Rev, 12116) Complaint and Request for Iniunction


          C.         What are the facts undedying your claim(s)? Tror example:       What happened   toyou?   wha didwhat?
                     l{q; qnySne ebe iryuglved?     W'ho else   sawwhat happened?)
                     SEE ATTACHED




rv.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustaine{ are sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.
         The injuries being sustained are going to ultimately result in death for me and there is no monetary compensation
         for ending my life. The sustained assault on me continues daily and there is no end without relief ftom the Court.
         There is a great risk to Public Safety as well because I am providing the U.S. Military actionable evidence
         regarding crimes against humanity which Defendants are trying to prevent.




v.        Relief

          State briefly and precisely what damages or other relisf the plaintiffasks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive monev damases.
          SEE ATTACHED




                                                                                                                             Page 5   of   6
         CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 7 of 11




    A.   FederalQuestion

18 U.S. Code 5 1951 - Interference with commerce by threats or violence L8 U.S. Code I 875 - Interstate
communications 18 U.S. Code S 241 - Conspiracy against rights 18 USC 1001 - The General Federal False
Statements Statute 14th Amendment - Due Process of Law 1st Amendment - Freedom of Speech
             CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 8 of 11




ll1.   Statement of Claim

B.     What date and approximate time did the events giving rise to your claim{s) occur?

The plan to extort, kidnap, torture, and murder me, Randi Lynn Erickson, and members of my famity
including minor grandchildren, began on August 26,2OL9 in Grand Forks, North Dakota. Defendants
continued to advance and enhance the plans of kidnapping, torture, extortion and murder untilthe
present date.

In August of 2A2O Craig Randall Sawyer, 8ob Hamer, James Hill, and Vice Admiral Charles W. Moore,
began transmitting threatening messages, including threats of kidnap, rape, torture, and murder, via
interstate electronic communication to me, Randi Erickson, and Timothy Charles Holmseth, through the
comment line of www.timothycharlesholmseth.com using various email accounts registered to an
account located at @vets4childr€scue.org. The threats included claims of association with the United
States Military and Army Base located at Fort Campbell, Kentucky. The threats continued in various
forms through various operatives and agents and continue to this present day.
         CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 9 of 11




lll. Statement of Claim     -   C.

I am a licensed realestate broker in the State of Florida. My license number is 83010O67. I am a licensed
abstractor in the State of Minnesota. My abstractor license number is 40605145. I am a Notary Public in
and for the State of Minnesota - Commission #: 20f,493O4- | am a former Tribunal Judge for City of
Blaine, Minnesota. Blaine has a population of 71,000. I am also a former city council member for the City
of Nowthen, Minnesota. I am acting trustee/escrow officer/publisher of
\,lrv\rw.timothycharlesholmseth.com and www.writeintoaction.com.

I am a member of a task force created through a liaison to President Donald J. Tr:ump operating under
Joint Special Operations Command that gathers actionable intelligence of international crimes with the
United States Army Intelligence Support Activity under the name Pentagon Pedophile Task Force (pPTF)
which is confirmed by a Pentagon JAG via Sergeant Robert Horton.

I have been criminally targeted for full spectrum personal and professional ruination, including kidnap,
torture, and assassination, based solely on the fact that in 2019 | became a member of the pentagon
Pedophile Task Force wherein I gathered and turned over evidence to the United States military via my
assigned liaison to Joint Special Operations Command and President Donald J. Trump, who serves on
three Presidential Commissions under President Donald J. Trump including a commission for human
trafficking and a commission on judicial corruption.

Defendants Craig Randall Sawyer, Kim L. Picazio, and Robert Hamer, through their own actions, and
actions of their Agents, conspired to issue kidnap, torture, rape, and murder threats to me and other
task force members as part of a plan to stop me and task force members from communicating with the
U.S. Military, Department of Homeland Security, FEMA, FBl, U.S. Border Patrol, state governors, law
enforcement, and others regarding them (Craig Randallsawyer, Kim L. Picazlo, Robert Hamer).

The organized criminal scheme that was deployed by Craig Randall Sawyer, Kim L. Picazio, and Robert
Hamer against me contains a dynamic that utilizes the State-leveljudicial system and Family Court
Divisions to fraudulently obtain restraining orders that are being used to improperty stop my electronic
interstate communication through use of county level court orders. There is evidence proving a weil-
established scheme that begins in the civil division, and then, by design, are converted to the criminal
division, whereupon the target of the scheme is arrested for exercising their First Amendment and
falsety imprisoned.

Defendants Craig Randall Sawyer, Kim L. Picazio, and Robert Hamer have made materially false
statements in Petitions requesting harassment-restraining orders against me and task force members
wherein they claim I threatened them and followed them, when in fact, I have NEVER MET ANy OF
THEM nor have I ever communicated with any of them nor have I ever gone to where they live.

My role for the   PPTF is   to gather intelligence and electronically communicate it to agencies.

The aforementioned judicial scheme is presently being used in Minnesota in an effort to physicaily force
and/or lure me into a trap set at a local courthouse whereupon my arrival, and/or while in transport,
Defendants Craig Randall Sawyer, Kim L. Picazio, and Robert Hamer, and/or their Agents, will make good
on their written threats to kidnap and murder me.
        CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 10 of 11



The judicial scheme deployed against me involves co-conspirators who are Agents of the Anoka County
Sheriffs Office in Minnesota. On September 14, 2O2A I contacted Christopher Beck, investigator, Anoka
County Sheriffs Office, and advised Beck I was a member of a task force gathering information for the
U.S. Military via a JSOC liaison on a Presidential Commission. I provided Beck information about
Defendant Craig Randall Sawyer and Kim L. Picazio and others. I advised Beck that I was being subjected
to retaliation for my work with the task force. For instance, I advised Beck that craig Randall sawyer
published a homemade WANTED/REWARD poster on his Tactical lnsider par:amilitary website
                                                                                              calling me
a "fugitive" and offering thousands of dollars in rewards for tips about my whereabouts through
                                                                                                 a
telephone number with an area code of Washington DC. The Anoka County Sheriffs Office was aware
                                                                                                      of
flyers being physicalty posted around Minnesota, and postcards being mailed via the U-S. postal Service
to my associates, featuring the photo of a task force member, his vehicle, ticense plate number, with
claims he is a domestic terrorist who is plotting to kidnap children and kill law enforcement.

PROOF of all statements and claims contained herein   will be made available to the Court immediately
upon request.
           CASE 0:21-cv-02536-ECT-KMM Doc. 1 Filed 11/19/21 Page 11 of 11




V. Relief

I am requesting the federal court Vacate all
                                           the state level court orders against me, Randi Lynn Erickson
which are presently being used to violate my rights.

I request the   following Orders be VACATED (as well as any other Orders that have been entered in
secret).

Anoka County, Minnesota Case Numbers:

O2-Cll-2I45O0- Kim Picazlo vs. RANDI LYNN         ERICKSON

O2-C1|-2L4617     -   Robert Hamer vs. Randi Lynn Erickson

O?-st -21-4l.80   -   Craig Sawyer vs. Randi Lynn Erickson
